        Case 1:09-cr-00244-JRR               Document 330           Filed 11/06/13    Page 1 of 2



                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF MARYLAND

       MARK LINN RANDOLPH                                :
                                                         :
                          v.                             :               Civil No. CCB-13-1227
                                                         :               Criminal No. CCB-09-0244
       UNITED STATES OF AMERICA                          :
                                                     ...o0o...

                                              MEMORANDUM

          Mark Linn Randolph, a federal prison inmate, filed a timely motion to vacate his sentence

under 28 U.S.C. § 2255. He alleges ineffective assistance of counsel. The motion shall be

denied.

          Randolph pled guilty to possession with intent to distribute cocaine base under an

agreement that stipulated to a sentence of no less than 60 and no more than 151 months

incarceration. He was found to be a career offender with a guideline range of 151-188 months,

based in part on convictions for assault under Maryland law, despite his counsel’s argument to

the contrary.1 Nonetheless, the court granted a variant sentence of 108 months, within the agreed

range, after considering the sentencing factors under 18 U.S.C. § 3553(a), including Randolph’s

serious criminal history even apart from the career offender designation and his level of

culpability in the drug conspiracy.

          Clearly, counsel was not ineffective regarding the career offender status. He argued

against the designation but was not successful in the Fourth Circuit. The law has changed in both

the Fourth Circuit and the Supreme Court since 2011. See Descamps v. United States, 133 S. Ct.

2276 (2013); United States v. Gomez, 690 F.3d 194 (4th Cir. 2012). The Supreme Court has not,


1 The Fourth Circuit affirmed that finding. 444 Fed. App’x 682 (4th Cir. 2011).

                                                        1
       Case 1:09-cr-00244-JRR         Document 330        Filed 11/06/13      Page 2 of 2



however, indicated that Descamps applies retroactively to cases on collateral appeal, and this

court is not aware of any circuit court opinion so holding. In any event, Randolph has not been

prejudiced because the sentence was not based on his career offender status. The same sentence

would have been imposed because of his lengthy criminal record and culpability for the offense,

even if he were not a career offender. (See Sent’g Tr., ECF No. 325-2, at 61-67.)

       Accordingly, a certificate of appealability under 28 U.S.C. § 2253(c) will not be issued

and the motion to vacate will be denied by separate Order which follows.



November 6, 2013                                                    /s/
    Date                                             Catherine C. Blake
                                                     United States District Judge




                                                2
